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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION

 KENNETH HARTLEY,

              Petitioner,

 v.                                                Case No. 3:08-cv-962-MMH-LLL

 SECRETARY, DEPARTMENT OF                              THIS IS A CAPITAL CASE
 CORRECTIONS and FLORIDA
 ATTORNEY GENERAL,

          Respondent.
 ________________________________

                UNOPPOSED MOTION FOR LEAVE TO REPLY

       Petitioner Kenneth Hartley, respectfully moves for leave to file a reply to

 Respondent’s May 6, 2024 response to Mr. Hartley’s motion to alter or amend. See

 ECF Nos. 98, 103; see also M.D. Fla. Rule 3.01(d) (permitting the filing of a reply

 in support of a motion with leave of the court). Respondent’s arguments seek

 expansion of this Court’s March 18, 2024, order; speculate on the relationship

 between CHU-N and state-court counsel; and globally misconstrue CHU-N’s

 foundational duties and ethical responsibilities. Compare, e.g., ECF No. 103 at 1

 (asking this Court to “instruct CHU-N to stop providing any input or advice about

 Hartley’s state postconviction proceedings that is not explicitly solicited by lead

 state postconviction counsel”) with 2003 ABA Guidelines for the Appointment and

 Performance of Counsel in Death Penalty Cases (“ABA Guidelines”), Guideline

 10.15.1 (requiring continued “aggressive investigation of all aspects of the case” and



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 noting in commentary the “ever-more intertwined” nature of state and federal

 collateral proceedings).

        In light of Respondent’s arguments, Mr. Hartley requests the opportunity to

 address them in a short reply. Respondent does not oppose this request.

        WHEREFORE, Mr. Hartley respectfully asks this Court to grant him leave

 to reply on or before May 16, 2024. Mr. Hartley’s reply will not exceed seven pages.

                                              Respectfully submitted,

                                              /s/ Linda McDermott
                                              Linda McDermott
                                              Chief, Capital Habeas Unit
                                              Office of the Federal Public Defender
                                              Northern District of Florida
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                      LOCAL RULE 3.01(g) CERTIFICATION

        Petitioner maintains that Respondent lacks standing on the issues

 warranting a reply. However, undersigned counsel has contacted opposing

 counsel, Assistant Attorney General Jason Rodriguez, who does not object to the

 filing of a reply.

                                              /s/ Linda McDermott
                                              Linda McDermott

                            CERTIFICATE OF SERVICE

        I hereby certify that true and correct copies of the foregoing motion have

 been furnished by electronic service to all counsel of record on this 8th day of May,


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 2024.

                                          /s/ Linda McDermott
                                          Linda McDermott




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